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2
3                          UNITED STATES DISTRICT COURT
4                       EASTERN DISTRICT OF WASHINGTON
5
6 UNITED STATES OF AMERICA,                         No. 4:15-CR-6012-EFS-1

7                       Plaintiff,                  ORDER GRANTING MOTION TO
8                                                   EXPEDITE AND GRANTING IN
     vs.                                            PART AND DENYING IN PART
9                                                   SECOND MOTION TO MODIFY
10 ROCKY LOZANO,                                    CONDITIONS OF RELEASE
11
                        Defendant.
12
           BEFORE THE COURT is Defendant’s (unopposed) Second Motion to
13
     Modify Conditions of [Pretrial] Release (ECF No. 70) and Motion to Expedite
14
     (ECF No. 71). Defendant’s Motion seeks modification of the travel restriction
15
     imposed in Special Condition No. 15.          Though not discussed in the Motion,
16
     Defendant’s proposed order renews the previously denied request to have “the GPS
17
     or other electronic trade [sic] device removed.”
18
           Special Condition No. 15 of the Court’s Order Setting Conditions (ECF No.
19
     19) is modified as follows:
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21         (15) Defendant shall remain in the Eastern District of Washington while the
22         case is pending, with the exception of travel throughout Washington and
           Oregon for employment purposes as approved by the supervising Pretrial
23         Services Officer. Defendant shall keep a log of his work-related travel and
24         provide them to his supervising Pretrial Services Officer as requested. On a
           showing of necessity, and with prior notice by the defense to the assigned
25         Assistant U.S. Attorney, the Defendant may obtain prior written permission
26         to temporarily leave this area from the United States Probation Office.
27
28         The Court denies the Defendant’s proposed removal of his home



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1    confinement program set forth in Special Condition No. 21. Defendant is not on
2    GPS monitoring, but rather electronic home monitoring. Defendant does not seek
3    permission for out of district overnight stays. Further review of Special Condition
4    No. 21 is unnecessary at this time.
5          All other conditions are unchanged.
6          ACCORDINGLY, Defendant’s Motion to Expedite (ECF No. 71) is
7    GRANTED and Defendant’s Motion to Modify Conditions (ECF No. 70) is
8    GRANTED IN PART and DENIED IN PART as set forth herein.
9           DATED November 13, 2015.
10                              s/James P. Hutton
                               JAMES P. HUTTON
11                  UNITED STATES MAGISTRATE JUDGE
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     ORDER - 2
